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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG    *    MDL NO. 2179
“DEEPWATER HORIZON” IN THE         *
GULF OF MEXICO, on APRIL 20, 2010  *
                                   *    SECTION J
                                   *
THIS DOCUMENT RELATES TO:          *    JUDGE BARBIER
                                   *
2:11-cv-00263                      *    MAG. JUDGE SHUSHAN
                                   *
      PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO REMAND

       Plaintiff Buddy Trahan files this Memorandum in Support of his Motion to Remand.

Plaintiff Buddy Trahan moves this Court for an order remanding the above-styled and numbered

cause to the 270th Judicial District Court of Harris County, Texas, from which it was improperly

removed.

                        I. NATURE AND STAGE OF PROCEEDINGS

       1.      Despite the fact that Buddy Trahan (“Plaintiff”) brought his personal injury

claims pursuant to the general maritime laws of the United States for torts occurring aboard a

vessel in navigable waters and did not assert claims under any federal statute, Cameron

International Corporation d/b/a Cameron Systems Corporation (“Cameron”) removed this case

based on 28 U.S.C. § 1331, et seq. In particular, Cameron argues that the Court has original

subject matter jurisdiction under the Outer Continental Shelf Lands Act (“OCSLA”). 43 U.S.C.

§ 1349(b)(1)(A). Contrary to Cameron’s assertions, federal subject matter jurisdiction is lacking.

General maritime law, not OCSLA, governs Plaintiff’s claim. Cameron has failed to meet its

burden to demonstrate removal is proper. For the reasons that follow, the Court should remand

this case to the 270th Judicial District in Harris County, Texas.

       2.      Prior to the MDL transfer, Plaintiff previously filed his Motion to Remand and his
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Supplement to his Motion to Remand in the Southern District of Texas-Houston Division on

September 20 and October 8, 2010 [Doc. #7, #17, in Cause No. 4:10-cv-03198, Trahan v. BP,

PLLC, et. al.] On or around February 7, 2011, Plaintiff’s case was transferred to MDL 2179.

Pursuant to Pre-Trial Order #5, Plaintiff is re-filing his Motion to Remand for consideration by

this Court. [MDL Doc. #17]

                                            II. QUESTION PRESENTED

            3.       Did Cameron properly invoke the Court’s removal jurisdiction and meet its

burden of establishing federal jurisdiction?

                                         III. SUMMARY OF ARGUMENT

            4.       The Court should remand this case for at least the following reasons:

           Plaintiff has not made any claim arising under OCSLA or federal law. Indeed,
            Plaintiff’s Original Petition expressly negates claims arising under any federal
            statute or falling within the parameters of 28 U.S.C. § 1331.1

           Plaintiff’s claims are governed by general maritime law and are, therefore, not
            removable.2

           Even if the OCSLA applies (which it does not), Plaintiff’s maritime vessel-related
            tort claims arising on an OCSLA situs are not removable if one of the Defendants
            is a citizen of the forum state.3

           OCSLA exempts vessels such as the Deepwater Horizon from its parameters.4

                                          IV. FACTUAL BACKGROUND

1
    See Exhibit A, Plaintiff’s Original Petition, ¶ 1.
2
  See Romero v. Int’l Terminal Operating Co., 358 U.S. 354, 377-79, 79 S.Ct. 468, 484-85 (1959) (discussing non-
removability of “savings to suitors” claims on the grounds that, because maritime claims do not arise under the laws
or Constitution of the United Sates they do not present federal questions.)
3
    See Morris v. TE Marine Corp., 344 F.3d 439, 444 (5th Cir. 2003).
4
 See Walsh v. Seagull Energy Corp., 836 F. Supp. 411, 418 (S.D. Tex. 1993) (“In sum, despite the potential and
probably intended breadth of the application of federal law under OCSLA to oilfield operations on the shelf, in
practice the courts have read Rodrigue [v. Aetna Cas. & Sur. Co., 395 U.S. 352 (1969)] to almost strictly limit its
operation as to personal injuries to accidents taking place on fixed platforms.); Grand Isle Shipyard, Inc. v. Seacor
Marine, LLC, 589 F.3d 778, 781 (5th Cir. 2009).

                                                                                                                   2
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            5.       Plaintiff is an Operations Asset Manager for Transocean Offshore Deepwater

Drilling, Inc.5

            6.       On or about January 30, 2010, the Deepwater Horizon vessel commenced a

voyage in the Gulf of Mexico in the vicinity of Mississippi Canyon Block 727 to the vicinity of

Mississippi Canyon Block 252 for the purposes of conducting contract drilling in the Gulf of

Mexico for BP.6 On April 20, 2010, Plaintiff was onboard the Deepwater Horizon vessel in

furtherance of maritime activities.7 An explosion occurred on the Deepwater Horizon and it

caught fire, causing injuries and death to many workers.8 The fire burned for two days before

the Deepwater Horizon finally sank on April 22, 2010, thus ending the vessel’s ill-fated voyage.9

Plaintiff was on the Deepwater Horizon at the time of the explosion and was seriously injured.10

            7.       On August 19, 2010, Plaintiff filed his Original Petition in Harris County, Texas

in the 270th Judicial District Court. On August 30, 2010, BP America, Inc, BP Corporation

North America, Inc., BP Company North America, Inc., BP Products North America, Inc., BP

Exploration & Production, Inc., and BP America Production Company filed their Original

Answer.11 On September 3, 2010, Cameron filed its Original Answer and Notice of Removal.12




5
     See Exhibit A, ¶ 23.
6
    See Exhibit A, ¶ 24.
7
    See Exhibit A, ¶ 25.
8
    Id.
9
    Id.
10
     Id.
11
     See Exhibit B, BP Entities’ Original Answer.
12
     See Exhibit C, Cameron’s Original Answer.


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                                    V. ARGUMENT & AUTHORITY

           A. Removal in General

           8.        Removal from state court to federal court is only proper if the action is one over

which the federal court possesses subject matter jurisdiction. 28 U.S.C. § 1441(a). Because

federal courts are courts of limited jurisdiction, the removing party bears the burden of showing

federal jurisdiction exists and removal was proper. See De Aguilar v. Boeing Co., 47 F.3d 1404,

1408 (5th Cir. 1995). The exercise of removal jurisdiction raises significant federalism concerns;

therefore, courts must construe removal statutes strictly. See Eastus v. Blue Bell Creameries,

L.P., 97 F.3d 100, 106 (5th Cir. 1996). Uncertainties about whether an action may be removed

should be construed against removal and in favor of remand. See Manguno v. Prudential Prop.

and Cas. Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002); Crossroads of Texas, LLC v. Great-West

Life & Annuity Ins. Co., 467 F. Supp. 2d 705, 708 (S.D. Tex. 2006).

           B. Plaintiff Has Not Made Any Claims Arising Under Federal Law

           9.        Plaintiff brought claims in Harris County, Texas pursuant to the general maritime

laws of the United States for torts occurring on a vessel in navigable waters in the Gulf of

Mexico. Plaintiff confirms in his petition that he is not asserting any claims under any federal

statute. Likewise, Plaintiff does not assert claims falling within the parameters of 28 U.S.C. §

1331.13 Accordingly, Plaintiff’s case was not removable on the basis of federal question

jurisdiction, and the Court should remand this case to the 270th Judicial District Court of Harris

County, Texas.



13
     See Exhibit A, ¶ 1.

                                                                                                     4
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       C. Cameron Fails to Demonstrate Removal is Proper

       10.      The general removal statute 28 U.S.C. § 1441 has two requirements for removal.

First, only civil actions “of which the district courts . . . have original jurisdiction, may be

removed.” 28 U.S.C. § 1441(a). Second, “civil actions founded on a claim or right arising under

the Constitution, treaties or laws of the United States shall be removable without regard to the

citizenship or residence of the parties.” 28 U.S.C. § 1441(b). The removal of other actions

depends on the citizenship of defendants. Id. Cameron argues removal is proper under 28 U.S.C.

§ 1441(b) which permits removal if the Court has original jurisdiction, “‘without regard to the

citizenship or residence of the parties.’” [Docket #1 in Case No. 4:10-cv-0138, ¶ 15] Here,

Cameron fails to establish that the Court has “original subject matter jurisdiction” over Plaintiff’s

claims. [Docket #1 in Case No. 4:10-cv-0138, ¶ 9]

               1. Plaintiff’s Claims are Governed by General Maritime Law and Not
               Removable

       11.     General maritime claims saved to suitors are, of themselves, not removable. See

Romero, 358 U.S. at 377-79; In re Dutile, 935 F.2d 61, 63 (5th Cir. 1991). It is well settled that

general maritime claims do not “arise under the Constitution, treaties or laws of the United

States” for purposes of original federal question jurisdiction under 28 U.S.C. § 1331. See

Tennessee Gas Pipeline v. Houston Cas. Ins. Co., 87 F.3d 150, 153 (5th Cir. 1996); Romero, 358

U.S. at 377-79 (discussing non-removability of “savings to suitors” claims on the grounds that,

because maritime claims do not arise under the laws or Constitution of the United Sates they do

not present federal questions); In re Dutile, 935 F.2d at 63 (holding that savings clause claims

cannot be removed under 28 U.S.C. § 1441(b) on the sole basis that the maritime claim presents

a federal question); Morris v. TE Marine, 344 F.3d 439, 444 (5th Cir. 2003) (recognizing that

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maritime claims are not removable). Accordingly, Plaintiff’s general maritime claims are not

removable under the first sentence of 28 U.S.C. § 1441(b) by virtue of falling under the

admiralty jurisdiction of the federal courts.

       12.      Since Plaintiff’s claims are not removable under 28 U.S.C. § 1441(b), Cameron

must have an independent basis for removal. Cameron does not. So, Cameron argues the Court

has original jurisdiction under 43 U.S.C. § 1349(b)(1)(A) or OCSLA. Nonetheless, Cameron

still fails to meet its burden to demonstrate that removal was proper. Before turning to this

inquiry, however, Plaintiff’s claims are governed by general maritime law.

                       i.      General Maritime Law Governs Plaintiff’s Claims

       13.      To the extent Cameron may dispute the applicability of maritime law to Plaintiff’s

claims, Cameron is simply wrong. Maritime law applies to tort claims that involve (1) a maritime

location; and (2) a connection to traditional maritime activity. See Jerome B. Grubart, Inc. v.

Great Lakes Dredge & Dock, 513 U.S. 527, 534, 115 S.Ct. 1043, 1048 (1995). A maritime

location exists if the injury occurred on navigable waters. Id. at 533-34. The maritime connection

exists when the incident has a potentially disruptive impact on maritime commerce and when

“‘the general character’” of the “‘activity giving rise to the incident’” shows a “‘substantial

relationship to traditional maritime activity.’ ” Id. at 534, quoting Sisson v. Ruby, 497 U.S. 358,

364 and n. 2 (1990). Undoubtedly and as demonstrated below, this case is one governed by

maritime law.

                       ii.     A Maritime Location Exists

       14.      A semi-submersible drilling rig such as the Deepwater Horizon is a vessel under

the maritime law. See Dominique v. Ocean Drilling and Exploration Co., 923 F.2d 393, 394 n.1

(5th Cir. 1991); Fontenot v. Mesa Petroleum Co., 791 F.2d 1207, 1214 n. 5 (5th Cir. 1986) (a



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semi-submersible drilling unit is “indisputably a vessel.”) Additionally, at the time of the April

20, 2010 explosion and fire, the Deepwater Horizon was afloat in navigable waters in the Gulf of

Mexico. Therefore, the Court should find that a maritime location exists.

                       iii.     A Maritime Connection Exists

       15.     With regard to the second prong, connection to a traditional maritime activity, a

two part inquiry evaluates (1) the disruptive impact on maritime commerce; and (2) whether the

activity giving rise to the incident bears a substantial relationship to traditional maritime activity.

See Grubart, 513 U.S. at 534.

       16.     In Coats v. Penrod, the Fifth Circuit recognized that offshore drilling incidents

give rise to general maritime tort claims. See Coats v. Penrod Drilling Corp., 61 F.3d 1113, 1119

(5th Cir. 1995) (en banc). In Coats, the plaintiff suffered an injury while repairing and

maintaining a jack-up oil rig in navigable waters. See Coats, 61 F.3d at 1119. Specifically, the

jack-up rig’s bullplug failed during pressure testing. Id. In Coats, the Fifth Circuit found that

injuries to workers can have a potentially disruptive impact on maritime commerce. Id.

       17.     In a separate Supreme Court case, a fire aboard a private yacht in navigable

waters was held to have a disruptive impact on maritime commerce. See Sisson, 497 U.S. at 362,

110 S.Ct. at 2896. One of the traditional rules of admiralty law is to provide compensation for

injures which occur upon a vessel. Id. at 497 U.S. at 366-75 (Scalia, J. concurring) (arguing that

all vessel-related torts fall within admiralty jurisdiction). Certainly, the explosion and fire aboard

the Deepwater Horizon not only disrupted drilling operations but also disrupted maritime

commerce from the resultant oil that gushed from the well. Accordingly, the Court should find

that the explosion and fire aboard the Deepwater Horizon satisfies the “disruptive impact”

element.



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           18.       In relation to whether the activity bears a substantial relationship to traditional

maritime activity, “[o]il and gas drilling on navigable waters aboard a vessel is recognized as

maritime commerce.” See Theriot v. Bay Drilling Corp., 783 F.2d 527, 538-39 (5th Cir. 1986)

(citing Pippen v. Shell Oil Co., 661 F.2d 378, 384 (5th. Cir. 1981) (In a maritime tort action

aboard a vessel, the court found that “offshore drilling the discovery, recovery and sale of oil and

natural gas from the sea bottom is maritime commerce.”) At the time of the explosion and fire,

the Deepwater Horizon vessel was “conducting contract drilling in the Gulf of Mexico for BP.”14

Moreover, “[p]roviding compensation for shipboard injuries is a traditional function of the

admiralty laws.” See Coats, 61 F.3d at 1119. Here, Plaintiff sustained serious injuries as a result

of the explosion and fire aboard the Deepwater Horizon. Thus, the activity in this case is closely

related to activity traditionally subject to maritime law and the Court should find that maritime

law governs Plaintiff’s claims.

                     2. Even if the Accident Occurred on an OCSLA Situs, Plaintiff Asserts
                     Maritime Vessel Related Tort Claims Only and Removal is Improper
                     Because Cameron and Other Defendants are Citizens of Texas

           19.       Even where both OCSLA and general maritime law could apply, “the case is to be

governed by general maritime law.” See Tennessee Gas, 87 F.3d at 154. Accordingly, district

courts have found that removal under OCSLA is not proper when maritime law governs

the plaintiff’s claims and one of the defendants is from the state of suit--that is precisely the

case here. In Nase v. Tesco Energy, Inc., the Court found that remand was proper where the

plaintiff’s claims were “maritime”, [did] “not ‘arise under’ federal law,” and the defendant

resided in Louisiana—the state of suit. 347 F. Supp. 2d 313, 318, 319-22 (E.D. La. 2004)

(remanding a case removed under the OCSLA to state court because maritime law governed the

plaintiff’s claims and one of the defendants resided in Louisiana). Other district courts have
14
     See Exhibit A, ¶ 24.

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reached the same conclusion. Patlan v. Apache Corp., Civil Action No. 1:09-CV-926, 2010 WL

2293272, * 6 (E.D. Tex. May 11, 2010) (remanding a case removed under the OCSLA because

the plaintiff’s claims were governed by maritime law and at least one defendant resided in

Texas); Bulen v. Hall-Houston Oil Co., 953 F. Supp. 141, 145, (E.D. La. 1997) (remanding

because the OCSLA did not provide removal jurisdiction over maritime claims).

           20.       Significantly, the Fifth Circuit also recognizes that removal of maritime claims is

proper “only if none of the parties in interest properly joined and served as defendants is a citizen

of the State in which such action is brought.” See Morris, 344 F.3d at 444. In particular, Morris

recognized the additional requirement for removal when original jurisdiction is not present, i.e.,

the citizenship of defendants. Id., quoting Dahlen v. Gulf Crews, Inc., 281 F.3d 487, 492 (5th

Cir. 2002). Cameron, however, fails to consider or address this controlling precedent in its

Notice of Removal.

           21.       In the instant case, Cameron, BP Products North America, Inc., BP Corporation

North America, Inc., Halliburton Energy Services, Inc., M-I L.L.C. d/b/a M-I Swaco, Anadarko

Petroleum Corporation, and Dril-Quip, Inc. are citizens of Texas. Notably, Cameron did not

dispute the citizenship of Defendants in its Notice of Removal.

                    Cameron’s maintains its corporate offices at 1333 West Loop South, Suite 1700,
                     Houston, Texas, 77027.15

                    BP Products North America, Inc. and BP Corporation North America maintain
                     their principal places of business in Houston, Texas.16

                    Halliburton Energy Services, Inc.’s corporate offices are located at 3000 North
                     Sam Houston Parkway East, Houston, Texas, 77032.17

15
     See Cameron’s website at www.c-a-m.com.
16
     See BP’s website at www.bp.com/contacts.do?categoryId=488&contentId=2000552.
17
     See Halliburton’s website at www.halliburton.com.


                                                                                                      9
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                    Anadarko Petroleum Corporation’s corporate headquarters are located at 1201
                     Lake Robbins Drive, The Woodlands, Texas, 77380.18

                    M-I L.L.C. d/b/a M-I Swaco’s world headquarters are located at 5950 North
                     Course Drive, Houston, Texas 77072.19

                    Dril-Quip, Inc.’s world headquarters are located at 13550 Hempstead Hwy,
                     Houston, Texas 77040.20

           22.       This case was filed on August 19, 2010. On August 30, 2010, certain BP entities

answered Plaintiff’s Original Petition, including BP Products North America and BP Corporation

North America. Likewise, on September 3, 2010, Cameron filed its Original Answer. Under

Texas Rule of Civil Procedure 121, an answer constitutes an appearance “so as to dispense with

the necessity for the issuance of service of citation upon him.” Tex. R. Civ. P. 121.

           23.       Based on the foregoing, it is more than clear that many of the properly joined

Defendants maintain their principal places of business in Texas and are citizens of Texas.

Therefore, even if the OCSLA applied to Plaintiff’s claims (a fact Plaintiff denies), removal is

improper because at least five Defendants, including Cameron, BP Products North America and

BP Corporation North America who have appeared in this case, maintain citizenship in Texas.

Thus, the Court should remand this case to the 270th Judicial District Court of Harris County,

Texas.

           24.       As further grounds supporting Plaintiff’s Motion to Remand, Plaintiff submits for

the Court’s consideration an opinion recently issued by this Court.21 On October 6, 2010, this

Court denied the State of Louisiana’s Motion for Remand. Although the State of Louisiana’s
18
     See Anadarko’s website at www.anadarko.com.
19
     See MI-Swaco’s website at www.miswaco.com.
20
     See Dril-Quip’s website at www.dril-quip.com.
21
     See Exhibit F, MDL Doc. # 470, 10/06/10 Order, at p. 9-10.


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motion was denied, this Court’s analysis and reasoning in that case supports remand here.

            25.     Similar to this case, the defendants argued that the court had original jurisdiction

under the Outer Continental Shelf Lands Act (“OCSLA”). 43 U.S.C. § 1349(b)(1). Also, like

this case, the State of Louisiana argued that even if the court had jurisdiction under OCSLA,

“maritime law requires this case to be remanded” under 28 U.S.C. § 1441(b).22 According to the

Court,

           It is well settled that maritime law claims do not arise under the laws of the
           United States. It is therefore true that unless a defendant is not a citizen of
           the state in which the action was brought, § 1441(b) does not allow maritime
           law claims to be removed to federal court. This is true even if the court has
           both OCSLA and admiralty jurisdiction because the Fifth Circuit has not
           determined that finding that a court has OCSLA jurisdiction is synonymous
           with finding that a plaintiff’s claim arises under the laws of the United
           States. Ten. Gas Pipeline, 87 F.3d at 156; Walsh v. Seagull Energy Corporation,
           836 F. Supp 411, 417-18 (S.D. Tex. 1993); Rivas v. Energy Partners of Delaware,
           No. Civ. A. 99-2742, 2000 WL 127290, *5 (E.D. La. Feb. 1, 2000) (stating “the
           Fifth Circuit has never held that where OCSLA and general maritime law overlap,
           the case is removable without regard to citizenship”; 28 U.S.C. § 1441(b).23

           26.      Notably, the Court denied the State of Louisiana’s motion to remand based upon

an important distinction from Plaintiff’s case. There the defendants were “not citizens of

Louisiana (the state in which the action was brought).”24 Here, however, Plaintiff brought his

lawsuit in Texas and, at least, six (6) of the Defendants are citizens of Texas. Therefore,

Plaintiff’s claims belong in the 270th Judicial District of Harris County, Texas. Accordingly, in

the interests of judicial economy, Plaintiff requests that the Court grant Plaintiff’s Motion to

Remand.




22
     Id.
23
     Id. (emphasis added).
24
     Id.

                                                                                                     11
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        D. Plaintiff’s Maritime Tort Claims Relating to the Explosion, Fire and Sinking of
           the Deepwater Horizon Vessel are Exempt from OCSLA

        27.    Although the Deepwater Horizon was a vessel and OCSLA does not apply to

maritime torts that occur aboard vessels, Cameron removed this case based upon OCSLA. 43

U.S.C. § 1333(a). Cameron argues that Plaintiff’s claims “stem from an accident aboard an

installation or device that was temporarily attached to the seabed floor of the outer continental

shelf for the purpose of exploring for, developing, or producing resources therefrom”; and

therefore, original subject matter jurisdiction exists pursuant to 43 U.S.C. § 1333(a). [Docket #1,

¶ ¶ 9, 10]

        28.    The law is settled, however, “that when a tort occurs on navigable water on the

OCS [on a vessel], as opposed to, for example, a stationary platform, maritime law applies to the

ensuing tort action by that worker against third parties.” See Grand Isle Shipyard, Inc. v. Seacor

Marine, LLC, 589 F.3d 778, 781 (5th Cir. 2009); Parks v. Dowell Division of Dow Chemical

Corp., 712 F.2d 154, 157 (5th Cir. 1983) (holding that injured worker’s claim was governed by

general maritime law not the OCSLA); U.S. v. Pickett, 598 F.3d 231, 236 (5th Cir. 2010) (The

OCSLA does not apply to vessels that float on water).

        29.    Here, there is no dispute the Deepwater Horizon is a vessel. “[A] ‘vessel’ is any

watercraft practically capable of maritime transportation, regardless of its primary purpose or

state of transit at a particular moment.” See Stewart v. Dutra Const. Co., 543 U.S. 481, 497

(2005) (quoting 1 U.S.C. § 3). The Deepwater Horizon was a semi-submersible drilling rig, or

technically speaking, a dynamically positioned, mobile offshore drilling unit floating in the Gulf

of Mexico. Semi-submersible drilling rigs are considered vessels as a matter of law. Dominique,

923 F.2d at 394 n.1; Fontenot, 791 F.2d at 1214 n. 5 (a semi-submersible drilling unit is

“indisputably a vessel”). In fact, Cameron previously admitted that the Deepwater Horizon is a

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vessel. To this end, on two occasions, Cameron has conceded that “[t]he Deepwater Horizon was

a mobile offshore drilling unit . . . that undoubtedly was capable of movement across navigable

waters.” See Kleppinger v. Transocean, et. al., Civil Action No. 4:10-cv-01851, [Document #41,

at p. 11]; see also Kritzer v. Transocean, et. al., Civil Action No. 4:10-cv-01854, [Document

#27, at p. 13]

         30.      Additionally, the Deepwater Horizon’s captain, Curt Kuchta, testified that the

Deepwater Horizon was a vessel before it sank25 and agreed that when the Deepwater Horizon

was “latched up”, it was still under way, i.e., “not at anchor or made fast to shore or ground.”2627

         31.      Fifth Circuit precedent also recognizes that general maritime law applies to torts

occurring on vessels floating in navigable waters above the OCS. In Demette, the Fifth Circuit

held that maritime law applied to a dispute arising from an incident that occurred on a jack-up rig

located on the OCS outside of Louisiana’s territorial waters. Demette v. Falcon Drilling Co.,

Inc., 280 F.3d 492, 501 (5th Cir. 2002), overruled on other grounds, Grand Isle, 589 F.3d 778

(5th Cir. 2009). In Demette the rig was jacked-up on the OCS at the time of the underlying

incident. Nonetheless, the Fifth Circuit was clear that the rig did not lose its vessel status. Id. at

498 n. 18. In fact, the Fifth Circuit characterized the jack-up rig’s vessel status as “beyond

dispute” and specifically stated that “[t]his circuit has repeatedly held that special purpose

movable drilling rigs, including jack-up rigs are vessels within the meaning of admiralty law.”


25
  See Exhibit D, Excerpts from Captain Kuchta’s Testimony in the Joint U.S. Coast Guard/MMS Investigation, at p.
232.
26
  See Exhibit E, Excerpts from Captain Kuchta’s Testimony in the Joint U.S. Coast Guard/MMS Investigation, at p.
pp. 150-151, 155, and 206-07.
27
   It is clear that during its operations in connection with the Macondo well the Deepwater Horizon was never
attached to the ocean floor; instead, it stabilized itself by using complex “thruster” technology and was connected to
nothing at all except –via a 5,000-foot long rise pipe- the wellhead.



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Id. Further, the majority conducted a choice-of-law analysis and concluded that the Longshore

and Harborworkers’ Compensation Act applied to the indemnity agreement at issue. Id. at 501.

In relation to this result, the Court stated, “In reaching this conclusion we acknowledge the

dissent’s puzzlement at the conclusion that a jack-up rig is a vessel and that the maritime law can

apply on an OCSLA situs.” Id. at 503. Accordingly, Demette stands for two propositions

important to Plaintiff’s Motion to Remand: (1) a vessel retains its vessel status, even when

secured to the seabed of the OCS, and (2) maritime law can apply when a vessel is within

OCSLA jurisdiction.

       32.     In 2006, another Fifth Circuit panel applied the two propositions from Demette in

Strong v. B.P Exploration & Prod., Inc. The panel considered whether a liftboat jacked up on

the OCS outside of Louisiana’s territorial waters was a vessel. Strong, 440 F.3d 665, 669 (5th

Cir. 2006). This issue arose from BP’s argument that the maritime law governed the tort claim

of Strong, a wireline worker, who was injured aboard the liftboat. Id. at 668. The liftboat was

positioned next to BP’s fixed platform and served as additional workspace for the various

operations performed at the well. Id. at 667. Relying on Demette, the unanimous panel resolved

the issue of vessel status in one sentence. “The liftboat, although jacked up and not ‘under sail,’

qualifies as a vessel on navigable waters.” Id. at 669 (citing Demette, 280 F.3d at 498 n. 18).

Additionally, the Fifth Circuit concluded that the maritime law applied to the plaintiff’s tort

claim. Id. at 669-670.

       33.     Thus, Demette and Strong confirm that a vessel, jacked up on the OCS and not

“under sail,” remains a vessel, and the maritime law applies to a claim arising on that vessel. As

such, even if the Deepwater Horizon was “temporarily attached to the seabed” at the time of the

explosion (an issue in dispute), the Deepwater Horizon was still a floating vessel and Plaintiff’s



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maritime tort claims are not precluded, preempted by, or removable pursuant to OCSLA;

therefore, remand to the 270th Judicial District Court of Harris County, Texas is proper.

                                       VI. CONCLUSION

       Based on the foregoing authority and analysis, Plaintiff Buddy Trahan respectfully

requests that the Court remand this case to the 270th Judicial District of Harris County, Texas

and for all other relief the Court deems appropriate.



                                              Respectfully submitted,

                                              Lubel Voyles LLP

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                               CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY that the above and foregoing Plaintiff Buddy Trahan’s
Memorandum In Support of Motion to Remand has been served on All Counsel by
electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order
No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United
States District Court for the Eastern District of Louisiana by using the CM/ ECF System, which
will send a notice of electronic filing in accordance with the procedures established in MDL
2179, on this the 8th day of April, 2011.



                                           _/s/ Lance H. Lubel______________
                                           Lance H. Lubel




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